                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION
 MO-KAN IRON WORKERS PENSION                      )
 FUND, A TRUST FUND; et al;                       )
                                                  )
                              Plaintiffs,         )
                                                  )      Case No. 4:17-00891-CV-RK
                     v.                           )
                                                  )
 EWELL CONSTRUCTION INC,                          )
                                                  )
                              Defendant.          )
                                      ORDER TO PAY
       Before the Court is Plaintiffs-Garnishors’ motion and suggestions for order directing
Garnishee to pay garnishment proceeds to Plaintiffs-Garnishors. (Doc. 48.) Having reviewed the
motion, as well as Garnishee’s answers to interrogatories (Doc. 41), and the Judgment entered in
this case (Doc. 12), the Court accordingly ORDERS as follows:
   1. Garnishee, Hy-Vee Construction, f/k/a Hy-Vee Weitz Construction, L.C., is to pay the sum
       of Six Thousand Seven Hundred Fifty-One and 25/100 Dollars ($6,751.25) into Court, and
       within ten (10) days thereafter, the Clerk of the Court pay the sum of Six Thousand Seven
       Hundred Fifty-One and 25/100 Dollars ($6,751.25) to the Plaintiffs-Garnishors with the
       check being made payable to the “Mo-Kan Iron Workers Fringe Benefit Funds;” and
   2. Plaintiffs-Garnishors shall provide a copy of this order to Garnishee.

                                            /s/ Roseann A. Ketchmark
                                            ROSEANN A. KETCHMARK, JUDGE
                                            UNITED STATES DISTRICT COURT

DATED: October 13, 2021




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